                                         Case 24-13695-LMI       Doc 16         Filed 06/06/24           Page 1 of 3




Fill in this information to identify your case:

Debtor 1                    Evelyn Suarez
                            First Name             Middle Name              Last Name

Debtor 2
(Spouse if, filing)         First Name             Middle Name              Last Name


United States Bankruptcy Court for the:         SOUTHERN DISTRICT OF FLORIDA

Case number              24-13695-LMI
(if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                   12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                      Sign Below


       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

               No

               Yes. Name of person                                                                       Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                         Declaration, and Signature (Official Form 119)


      Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
      that they are true and correct.

       X /s/ Evelyn Suarez                                                  X
             Evelyn Suarez                                                       Signature of Debtor 2
             Signature of Debtor 1

             Date       June 6, 2024                                             Date




Official Form 106Dec                               Declaration About an Individual Debtor's Schedules
                                     Case 24-13695-LMI          Doc 16         Filed 06/06/24             Page 2 of 3


Fill in this information to identify your case:

Debtor 1                Evelyn Suarez
                        First Name                Middle Name                Last Name

Debtor 2
(Spouse if, filing)     First Name                Middle Name                Last Name


United States Bankruptcy Court for the:     SOUTHERN DISTRICT OF FLORIDA

Case number           24-13695-LMI
(if known)
                                                                                                                         Check if this is an
                                                                                                                         amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                            12/15


If you are an individual filing under chapter 7, you must fill out this form if:
   creditors have claims secured by your property, or
  you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                               secures a debt?                                    as exempt on Schedule C?

   Creditor's                                                      Surrender the property.                              No
   name:                                                           Retain the property and redeem it.
                                                                   Retain the property and enter into a                 Yes
   Description of                                                  Reaffirmation Agreement.
   property                                                        Retain the property and [explain]:
   securing debt:

   Creditor's                                                      Surrender the property.                              No
   name:                                                           Retain the property and redeem it.
                                                                   Retain the property and enter into a                 Yes
   Description of                                                  Reaffirmation Agreement.
   property                                                        Retain the property and [explain]:
   securing debt:

   Creditor's                                                      Surrender the property.                              No
   name:                                                           Retain the property and redeem it.
                                                                   Retain the property and enter into a                 Yes
   Description of                                                  Reaffirmation Agreement.
   property                                                        Retain the property and [explain]:
   securing debt:

   Creditor's                                                      Surrender the property.                              No


Official Form 108                             Statement of Intention for Individuals Filing Under Chapter 7                                    page 1
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Debtor 1      Evelyn Suarez                                                                Case number (if known)    24-13695-LMI

    name:                                                        Retain the property and redeem it.
                                                                 Retain the property and enter into a                        Yes
    Description of                                               Reaffirmation Agreement.
    property                                                     Retain the property and [explain]:
    securing debt:



 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

Describe your unexpired personal property leases                                                                    Will the lease be assumed?

Lessor's name:            American Honda Finance                                                                       No

                                                                                                                       Yes

Description of leased     Opened Opened 05/21 Last Active 3/22/24
Property:                 Lease
                          2021 Honda CRV


Part 3:      Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

X     /s/ Evelyn Suarez                                                  X
      Evelyn Suarez                                                          Signature of Debtor 2
      Signature of Debtor 1

      Date       June 6, 2024                                            Date




Official Form 108                           Statement of Intention for Individuals Filing Under Chapter 7                                    page 2
